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             IN THE UNITED STATES DISTRICT COURT FOR THE

                      WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA, )
                                              )
                     Plaintiff, )
                                              )
              -vs- ) No. 23-CR-441-D

                                              )
JEREMY TURRENTINE ADAMS, )
   a/k/a Deshawn Turrentine, )
   a/k/a Jercmy Lynn Adams, )
                                              )
                     Defendant. )

                                 PLEA AGREEMENT

                                      Introduction

       1. This Plea Agreement, in conjunction with a Plea Supplement filed

contemporaneously under seal, contains the entire agreement between Defendant Jeremy


Turrentine Adams and the United States concerning Defendant's plea of guilty in this case.

No other agreement or promise exists, nor may any additional agreement be entered into


unless in writing and signed by all parties. Any unilateral modification of this Plea

Agreement is hereby rejected by the United States. This Plea Agreement applies only to

the criminal violations described and does not apply to any civil matter or any civil

forfeiture proceeding except as specifically set forth. This Plea Agreement binds only the

United States Attorney's Office for the Western District of Oklahoma and does not bind

any other federal, state, or local prosecuting, administrative, or regulatory authority. If
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Defendant does not accept the terms of this Plea Agreement by March 1, 2024, the offer

is withdrawn.

                                       Guilty Plea

       2. Defendant agrees to enter a plea of guilty to Count 1 in Case Number CR-

23-441-D, charging Mail Theft in violation of 18 U.S.C. § 1708. To be found guilty of

violating 18 U.S.C. § 1708, as charged in the Indictment, Defendant must admit, and does

admit, that on or about August 17,2023, in the Western District of Oklahoma, Defendant

knowingly stole and took mail from a rcceptacle which was an authorized depository for

mail matter.


                Maximum Penalty, Restitution, and Special Assessment


       3. The maximum penalty that could be imposed as a result of this plea is 5 years

of imprisonment or a fine of $250,000.00, or both such fine and imprisonment, as well as

a mandatory special assessment of $100.00 and a term of supervised release of 3 years.


       4. In addition to the punishment described above, a plea of guilty can affect

immigration status. If Defendant is not a citizen of the United States, a guilty plea may

result in deportation and removal from the United States, may prevent Defendant from ever


lawfully reentering or remaining in the United States, and may result in the denial of

naturalization. Further, if Defendant is not a citizen of the United States, Defendant

knowingly and voluntarily waives any right, pursuant to 18 U.S.C. § 4100, et seq., to

request to transfer service of any sentence of imprisonment or part thereof to Defendant's
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home country. If Defendant is a naluralized citizen of the United States, a guilty plea may

result in denaturalization.


       5. In addition, the Court must order ttie payment of restitution to any victims of


the offense. Pursuant to 18 U.S.C. §§ 3663(a)(3) and 3663A, the parties agree that, as part

of the sentence resulting from Defendant's plea, the Court will enter an order of restitution

to all victims of Defendant's relevant conduct as determined by reference to the United


States Sentencing Guidelines (the "Guidelines"). Specifically, Defendant shall pay

restitution in the amount of $1,600.89 to P.M.


       6. Defendant agrees to pay any special assessment(s) to the Office of the Court

Clerk immediately following sentencing. Defendant understands that any fine or


restitution ordered by the Court is immediately due unless the Court provides for payment

on a date certain or in installments. If the Court imposes a schedule for payment of


restitution. Defendant agrees that such a schedule represents a minimum payment


obligation and docs not preclude the United States Attorney's Office from pursuing other

means by which to satisfy Defendant's full and immediately enforceable financial

obligations. Defendant accepts a continuing obligation to pay in full. as soon as possible,

any financial obligation imposed by the Court. Defendant further understands tliat a failure

to abide by the terms of any restitution schedule imposed by the Court may result m further

action by the Court.


       7. For certain statutory oflenses. the Court must also impose a term of


supervised release, which Defendant will begin to serve after being released from custody.
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For all other olTenscs, llie Court may impose a term of supervised release to be served


following release from custody. During the term of supervised release, Defendant will be


subject to conditions that will include prohibitions against violating local, state, or federal

law, reporting requirements, restrictions on travel and residence, and possible testing for


controlled substance use. ]{'Defendant violates the conditions of supervised release, the


Court may revoke Defendant's supervised release and sentence Defendant to an additional


term of imprisonment. This additional term of imprisonment would be served without


credit for the time Defendant successfully spent on supervised release. When combined.


the original term of imprisonment and any subsequent term of imprisonment tlie Court


imposes may exceed the statutory maximum prison term allowable for the offense.


                                   Financial Disclosures


       8. Defendant agrees to disclose all assets in which Defendant has any interest


or over which Defendant exercises control, directly or indirectly, including those held by a

spouse, nominee, or any other third party. Upon request by the United Stales, Defendant


agrees (1) to complete truthfully and sign under penalty of perjury a Financial Statement

of Debtor by the change-of-plea hearing, or a date otherwise agreed to by the Unilcd States,


and (2) to provide updates with any material changes in circumstances, as described in 18

U.S.C, § 3664(k), within seven days of the event giving rise to such changes. Defendant


understands Ihal the United States will take Defendant's compliance with these requests


into account when it makes a recommendation to the Court regarding Defendant's


acceptance of responsibility.
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       9. Defendant also expressly authori/.es the United States Attorney's Office to


obtain a credit report on Defendant, in order to evaluate Defendant's ability to satisfy any


financial obligations imposed by the Court. Finally, Defendant agrees to notify the

Financial Litigation Program ("FLP") of the United States Attorney's Office and to obtain

permission from FLP before Defendant transfers any interest in property with a value

exceeding $1.000.00, owned directly, indirectly, individually, or jointly by Defendant,

including any interest held or owned under any name, including trusts, partnerships, or


corporations. Defendant acknowledges a continuing obligation to notify and obtain

permission from FLP for any translers of the above-described property until ftill

satisfaction of any restitution, fine, special assessment, or other financial obligations


imposed by the Court.

                                  Sentencing Guidelines

       10. The parties acknowledge that 18 U.S.C. § 3553(a) directs the Court to

consider certain factors in imposing sentence, including the Guidelines promulgated by the

United States Sentencing Commission. Consequently, although the parties recognize that

the Guidelines are only advisory, they have entered into certain stipulations and agreements


with respect to tlie Guidelines. Based upon the information known to the parties on the


date that this Plea Agreement is executed, they expect to take, but are not limited to, the


following positions at sentencing:

              a. The parties agree Defendant should receive a two-level downward


adjustment for Defendant's acceptance of responsibility, pursuant to U.S.S.G. § 3E 1.1 (a),
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if Defendant commits no further crimes, does not falsely deny or frivolously contest


relevant conduct, and fully complies with all other terms of this Plea Agreement. Further,


if the Court applies that two-levcl downward adjustment, the United States will move for

an additional one-level downward adjustment under U.S.S.G. § 3El.l(b) if it determines

that Defendant qualifies for the additional adjustment based on the timeliness of

Defendant's acceptance of this Plea Agreement and other appropriate considerations in


U.S.S.G. § 3E1.1 and its application notes.


       Apart (rom any expressed agreements and stipulations, the parties reserve the right


to advocate for, and present evidence relevant to, other Guidelines adjustments and


sentencing factors for consideration by the United States Probation Office and the Court.


        11. The parties have entered into this Plea Agreement under the provisions of


Federal Rules of Criminal Procedure ll(c)(l)(A) and ll(c)(l)(B). Defendant

acknowledges and understands that the Court is not bound by, nor obligated to accept, these

stipulations, agreements, or recommendations of the United States or Defendant. And.


even if the Court rejects one or more of these stipulalions, agreements, or


recommendations, that tact alone would not allow Defendant to withdraw Defendant's plea


of guilty. Upon Defendant's signing of this Plea Agreement, the United States intends to

end its investigation ofthe allegations in the Indictment, as to Defendant, except insofar as


required to prepare for further hearings in this case, including but not limited to sentencing,

and to prosecute others, if any, involved in Defendant's conduct. The United States agrees


to end any investigation directed spcdHcaUy al the foregoing stipulations, agreements, or
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recommendations as to Defendant. However, subject to the terms and conditions of this


Plea Agreement and Plea Supplement, the United Slates expressly reserves the righl to take

positions tliat deviate from the foregoing stipulations, agreements, or recommendations in


the event that material credible evidence requiring such a deviation is discovered during

the course ol' its investigation after the signing of tliis Plea Agreement or arises from


sources independent of the United Slates, including the United Stales Probation Office.

              Waiver of Right to Appeal and Bring Collateral Challenge

       12. Defendant understands that the Court will consider the factors set tbrth in 1 8

LJ.S.C. § 3553(a) in determining Defendant's sentence. Defendant also understands that


the Court has jurisdiction and authority to impose any sentence within the statutory

maximum for the offense(s) to which Defendant is pleading guilty. Defendant further

understands that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 give Defendant the right to appeal

the judgment and sentence imposed by the Court. Acknowledging all of tliis, and in

exchange for the promises and concessions made by the United States in this Plea

Agreement, Defendant knowingly and voluntarijy waives the following rights:

              a. Defendant waives the right to appeal Defendant's guilty plea, and any


other aspect ofDetendanfs conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues;

              b. Except as stated immediately below. Defendant waives the right to

appeal Defendants sentence, including any restitution, and tlie manner in which the


sentence is dclennincd, including its procedural reasonableness, {{'the sentence is above
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the advisory Guidelines range determined by the Court to apply to Defendant's case, this


waiver does not include Defendant's right to appeal the substantive reasonableness of


Defendant's sentence;


              c. Defendant waives the right to appeal or collaterally challenge the

length and conditions of supervised release, as well as any sentence imposed upon a


revocation of Defendant's supervised release;


              d. Defendant waives the right to collaterally challenge or move to


modify (under 28 U.S.C. § 2255. 18 U.S.C. § 3582(c)(2), or any other ground) Defendant's

conviction or sentence, including any restitution, except with respect to claims of


ineffective assistance of counsel. This waiver does not include Defendant's ability to file


a motion for compassionate release under 18 U.S.C. § 3582(c)(l)(A)(i), Defendant,

however, waives the right to appeal the denial oF an}' motion filed under 18 U.S.C.


§ 3582(c)(l)(A)(i) where such denial rests in any part upon the Court's determination that

a sentence reduction is not warranted under factors set forth in 18 U.S.C. § 3553(a).


       Defendant acknowledges that these waivers remain in full eft'ecl and are


enforceable, even if the Court rejects one or more of the positions of the United States or


Defendant set forth m paragraph 10.


       13. Except as staled immediately below, the United States agrees to waive its


right under 18 U.S.C. § 3742 to appeal the sentence imposed by the Court and the manner

in which the sentence was determined. Ifllie sentence is below the advisory Guidelines
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range determined by ttie Court to apply in this case, this waiver does not include the right

of the United States to appeal the substantive reasonableness of Defendant's sentence.


                         Waiver of FOJA and Privacy Act Rights

       14. Defendant waives all rights, whether asserted directly or by a representative,


to request or receive from any department or agency of the United States any records


pertaining to the investigation or prosecution of this case, including but not limited to

records that Defendant may seek under the Freedom oflnlbnnation Act, 5 U.S.C. § 552,


or the Privacy Act of 1974, 5 U.S.C. § 522a.


                                 Obligations of Defendant

       15. Defendant shall commit no further crimes. Should Defendant commit any


further crimes, knowingly give false, incomplete, or misleading testimony or information,


or otherwise violate any provision of this Plea Agreement, the United States will be

released from any obligations, agreements, or restrictions imposed on it under this Plea


Agreement, and the United States may prosecute Defendant for any and all of Defendant's


federal criminal violations, including perjury and obstruction of justice. Any prosecution

within the scope of this investigation that is not timc-barrcd by the applicable statute of

limitations on the dale of the signing of this Plea Agreement may be brought against

Defendant, notwithstanding the expiration of the statute of limitations between the signing

of this Plea Agreement and the commencement of that prosecution. Defendant hereby


waives all defenses based on the statute of limitations with respect to any prosecution that


is not time-barrecl on the date that this Plea Agreement is signed.
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       16. Tlie parties also recognize that if the Court delermines that Defendant has

violated any provision of this Plea Agreement or authorizes Defendant to withdraw from


Defendant's knowing and voluntary guilty plea entered pursuant to this Plea Agreement:


(a) all written or oral statcmenls made by Defendant lo the Court or to federal or other

designated law enforcement agents, any testimony given by Defendant before a grand jury

or other tribunal, whether before or after tlie signing of this Plea Agreement, and any leads


from those statements or testimony. shall be admissible evidence in any criminal


proceeding brought against Defendant; and (b) Defendant shall assert no claim under the

United States Constitution, any statute, Federal Rules of Criminal Procedure 1 l(d)(l) and

11(0, Federal Rule of Evidence 410, or any other federal rule or law that those statements

or any leads from those statements should be suppressed. Defendant knowingly and


voluntarily waives Defendant's rights described in this paragraph as of the time Defendant

signs this Flea Agreement.


                             Obligatjpns of the United States

       17. If Defendant enters a plea of guilty as described above and fully meets all

obligations under this Plea Agreement, the United States will move to dismiss at sentencing

Counts 2 throu.eh 5 of the Indictment, and the United States Altornev's Office Ibr the

Western District ofOklahomd will not further prosecute Defendant for any crimes related

to Defcndanl's participation in activities described in the Indictment during the period

between on or about August 17, 2023, through on or about September 5. 2023. This Plea




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Agreement does not provide any protection against prosecution for any crime not


specifically described above.

       18. Defendant understands thai the sentence lo be imposed upon Defendant is


within the sole discretion of the Court. The United States does not make any promise or


representation as to what sentence Defendant will receive. The United States reserves the


right to inform the United States Probation OlTice and the Court of the nature and extent

of Defendant's activities with respect to this case and all other activities of Defendant that


the United States deems relevant to sentencing.


                                         Signatures

       19. By signing this Plea Agreement, Defendant acknowledges that Defendant

has discussed the terms of the Plea Agreement with Defendant's attorney and understands


and accepts those terms. Further, Defendant acknowledges that this Plea Agreement, in


conjunction with the Plea Supplement filed contemporancously under seal, contains tlie


only terms of the agreement concerning Defendant's plea of guilty in this case, and that


there are no olher deals. bargains, agreements, or understandings which modify or alter


these terms.
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               ^avor F^^. 2024.
      Dated thi;



                                          ROBERT J.TROESTER
APPROVED:                                 United States Attorney




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